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 7
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 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,     Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                               DEFENDANTS NSO GROUP
                                                TECHNOLOGIES LIMITED
13               Plaintiffs,                    AND Q CYBER TECHNOLOGIES
                                                LIMITED’S OPPOSITION TO
14         v.                                   PLAINTIFFS’ MOTION TO EXCLUDE
                                                EXPERT TESTIMONY OF COL. TY
15   NSO GROUP TECHNOLOGIES LIMITED             SHEPARD
     and Q CYBER TECHNOLOGIES LIMITED,
16                                              [REDACTED VERSION OF DOCUMENT
                 Defendants.                    SOUGHT TO BE SEALED]
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                                                Action Filed: 10/29/2019
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 1   I.      INTRODUCTION
             Plaintiffs’ motion to exclude NSO’s expert, Colonel Ty Shepard (ret.), ignores Col.
 2
     Shepard’s qualifications, misrepresents his testimony and sources, and generally misconstrues
 3
     Rule 702, under which “rejection of expert testimony is the exception rather than the rule.” Fed.
 4
     R. Evid. 702, Advisory Committee Notes to 2000 Amendments. None of Plaintiffs’ arguments
 5
     provides a basis for excluding Col. Shepard.
 6
             First, Col. Shepard is qualified to offer opinions on the use of encrypted messaging
 7
     applications by threat actors, the utility of tools like NSO’s Pegasus for the United States and its
 8
     allies to counter such threats, related military and intelligence practices, and the market for
 9
     cybersurveillance tools. He is a retired United States Army Colonel with more than twenty years
10
     of experience in prominent cybersecurity and intelligence roles. In his report and during his
11
     deposition, Col. Shepard described his experience testing, implementing, and working with
12
     cybersecurity and surveillance technologies                                     . That “specialized
13
     experience” with the exact expert qualifications. Fed. R. Civ. P. 702; see United States v. Holguin,
14
     51 F.4th 841, 854-56 (subject-matter of this case easily clears Rule 702’s low bar for 9th Cir.
15
     2022). Plaintiffs attempt to undermine Col. Shepard’s experience by claiming that he relies
16
     extensively on classified information. But the record does not bear this out—the only information
17
     Col. Shepard could not disclose pertained to ancillary details that are immaterial, if not wholly
18
     irrelevant, to his actual opinions.
19
             Second, Col. Shepard reliably grounds his opinions in his extensive military experience
20
     and training in cybersurveillance. Plaintiffs’ misleading quibbles with the work Col. Shepard has
21
     performed in this case—for example, his colloquial remark during his deposition that in his own
22
     experience,                     of threat actors use encrypted messaging applications—may provide
23
     Plaintiffs a basis for cross-examination at trial, but they plainly do not justify the extreme remedy
24
     of exclusion.
25
             Third, Col. Shepard’s opinions are relevant to whether Plaintiffs are entitled to punitive
26
     damages or an injunction. To obtain punitive damages, Plaintiffs bear the burden of demonstrating
27
     by “clear and convincing evidence” that NSO acted with “oppression, fraud, or malice.” Cal. Civ.
28
                                                       1
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 1   Code § 3294. Col. Shepard’s testimony that Pegasus and similar cybersurveillance tools benefit

 2   governments and the public by allowing the prevention and investigation of terrorist, intelligence,

 3   and criminal threats enabled by WhatsApp bears directly on whether NSO acted with the intent

 4   required for punitive damages and whether NSO’s conduct was so “reprehensible” that punitive

 5   damages should be imposed. That testimony is also relevant to whether the balance of hardships

 6   and public interest support a permanent injunction that would have the effect of prohibiting the

 7   use of Pegasus.

 8          For all these reasons, Plaintiffs’ motion to exclude Col. Shepard should be denied.

 9   II.    RELEVANT LEGAL STANDARDS

10          Rule 702 provides that “a witness who is qualified by knowledge, skill, experience,

11   training, or education” may offer an expert opinion if “the expert’s scientific, technical, or other

12   specialized knowledge will help the trier of fact understand the evidence or determine a fact in

13   issue” and if “(1) the testimony is based upon sufficient facts or data, (2) the testimony is the

14   product of reliable principles and methods, and (3) the witness has applied the principles and

15   methods reliably to the facts of the case.” While the Court must ensure expert testimony is reliable,

16   see Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993), the Ninth Circuit “has

17   cautioned that the district court is a gatekeeper, not a fact finder,” Elosu v. Middlefork Ranch Inc.,

18   26 F.4th 1017, 1020 (9th Cir. 2022) (citation omitted). The Court “is supposed to screen the jury

19   from unreliable nonsense opinions, but not exclude opinions merely because they are

20   impeachable.” Alaska Rent-A-Car, Inc. v. Avis Budget Grp., 738 F.3d 960, 969 (9th Cir. 2013).

21   Thus, expert “evidence is to be attacked by cross examination, contrary evidence, and attention to

22   the burden of proof, not exclusion.” Elosu, 26 F.4th at 1024.
     III.   ARGUMENT
23
            A.      Col. Shepard’s extensive military, intelligence, and cybersecurity experience
24                  qualify him to testify under Rule 702.
25          Col. Shepard is qualified to opine on the use of surveillance technology in military and
26   intelligence operations based on his “specialized experience.” Fed. R. Evid. 702. Rule 702
27   “contemplates a broad conception of expert qualifications.” Thomas v. Newton Int’l Enters., 42
28   F.3d 1266, 1269 (9th Cir. 1994) (emphasis added); see also United States v. Hankey, 203 F.3d
                                                       2
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 1   1160, 1168 (9th Cir. 2000) (“[I]n considering the admissibility of testimony based on some ‘other

 2   specialized knowledge,’ Rule 702 generally is construed liberally.”). Under that broad conception,

 3   Col. Shepard’s significant knowledge of and experience with surveillance technology in military

 4   and intelligence operations plainly lays “at least the minimal foundation of knowledge, skill and

 5   experience required in order to give ‘expert’ testimony.” Thomas, 42 F.3d at 1269.

 6          Col. Shepard’s specialized experience with cybersecurity and surveillance technology is

 7   extensive. He served in the U.S. military for twenty-five years, predominately specializing in

 8   intelligence and cybersecurity. (Dkt. 505-2 (“Shepard Rpt.”) ¶¶ 3, 8-14.) Throughout his career,

 9   he gained experience with a wide range of surveillance and investigation tools and applied them

10   in various investigations. Initially, he focused on “signal intelligence” (abbreviated as SIGINT),

11   the process of gathering intelligence by intercepting and analyzing electronic signals like radio

12   transmissions to monitor enemy network and communications systems. (Declaration of Joseph N.

13   Akrotirianakis (“Akro. Decl.”) Exh. A (“Shepard Depo.”) at 59:25-60:16.) Then, while working

14   for the U.S. Northern Command, Col. Shepard assisted various federal agencies—including the

15   State Department—with evaluating and implementing numerous intelligence-gathering tools.

16   (Shepard Rpt. ¶ 8; see also Akro Decl. Exh. A, Shepard Depo. at 217:13-218:1.) Col. Shepard has

17   also held various cybersecurity roles in the California Military Department, including serving as

18   Cyber Operations Director and assisting in creating a cyber-center to protect California’s

19   infrastructure. (Shepard Rpt. ¶ 14; Akro Decl. Exh. A, Shepard Depo. at 132:8-133:17.) And,

20   more recently, Col. Shepard created a cybersecurity exercise known as “Cyber Dawn,” during

21   which cyber-protection teams from around the United States come annually to the West Coast to

22   “conduct offensive and defensive” cybersecurity exercises. (Akro Decl. Exh. A, Shepard Depo.

23   at 123:13-124:10.)

24          Col. Shepard was also deployed to the U.S. Embassy in Ukraine in 2017, where he served

25   as the subject-matter expert in “Command, Control, Communications, Computers, Intelligence,

26   Surveillance, and Reconnaissance.” (Shepard Rpt. ¶ 9; see also Akro Decl. Exh. A, Shepard Depo.

27   16:1-3.)   In that capacity, Col. Shepard

28                                                                                               . (Akro
                                                     3
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 1   Decl. Exh. A, Shepard Depo. at 15:14-18, 22:9-23:14, 26:1-25, 27:1-14.) For example, Col.

 2   Shepard helped

 3                                                                            . (Shepard Rpt. ¶ 9; see also

 4   Akro Decl. Exh. A, Shepard Depo. at 24:18-25, 25:12-25.) Additionally, Col. Shepard

 5                                                                             . (Id. at 29:2-18, 30:1-7.)

 6            Col. Shepard also has specialized experience

 7              . Throughout the latter half of his career, Col. Shepard

 8                                                 . (Id. at 74:8-23.)

 9                                                                                              . (See Id. at

10   70:2-21, 73:11-17, 85:17-86:3.) And several missions took Col. Shepard to

11

12                                                           . (See Id. at 73:18-74:3.)

13            Plaintiffs demean Col. Shepard’s experience as “operational” rather than “academic” (Mot.

14   at 1), but that distinction has no relevance to whether an expert is qualified to testify under Rule

15   702. Even Plaintiffs’ cited authority acknowledges that a “lack of academic research and writing

16   experience” does not preclude qualifying an expert based on “specialized knowledge, experience,

17   and training.” United States v. Cerna, 2010 WL 11627594, at *4 (N.D. Cal. 2010); see also

18   Holguin, 51 F.4th at 854 (“Law enforcement professionals are routinely qualified to offer expert

19   testimony based on their training and experience.”). 1 And “the text of Rule 702 expressly

20   contemplates that an expert may be qualified on the basis of experience”; indeed, in “certain fields,

21   experience is the predominant, if not the sole basis for a great deal of reliable expert testimony.”

22   Fed. R. Evid. 702, Advisory Committee Notes to 2000 Amendments. Plaintiffs may try to impeach

23   Col. Shepard at trial based on the nature of his experience, but that experience—extensive first-

24   hand involvement in military intelligence and cybersurveillance—gives him “specialized

25   knowledge beyond the jury’s common knowledge of” those areas. Holguin, 51 F.4th at 854. Col.

26

27   1
       Similarly, Plaintiffs’ own authority confirms that Col. Shepard having “never been qualified to
28   testify as an expert in federal court does not prevent him from testifying in this case.” Cerna, 2010
     WL 11627594, at *4.
                                                       4
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 1   Shepard is therefore qualified to offer all of his opinions

 2           B.       Col. Shepard does not rely on classified information.

 3           Plaintiffs next attempt to undermine Col. Shepard’s opinions by arguing that they depend

 4   on classified information. That is false. To argue otherwise, Plaintiffs wrench from context a few

 5   isolated instances in which Col. Shepard expressed that he was unable to disclose classified

 6   information during his deposition. (Mot. 6 n.4.) But the information Plaintiffs sought in these

 7   exchanges involved ancillary details that are immaterial, if not wholly irrelevant, to Col. Shepard’s

 8   actual opinions.

 9           For example, Plaintiffs take issue with Col. Shepard’s refusal “to provide the names of

10   NSO customers.” Id. But this Court already ruled that Defendants “need not disclose the identities

11   of their third-party clients” because only the “actions” of those clients are relevant. (Dkt. 292 at

12   5.) The relevant fact is that U.S. allies have used Pegasus to investigate and prevent terrorism and

13   serious crimes. As this Court recognized (id.), the specific identities of which allies have done so

14   is not material. In any event,

15

16

17                    . (See Akro Decl. Exh. A, Shepard Depo. at 84:7-85:25).

18           Nor is it true, as Plaintiffs claim, that Col. Shepard refused to discuss

19                                                                           (Mot. at 6 n.4.) Col. Shepard

20   testified that

21                                                                                                   . (Akro

22   Decl. Exh. A, Shepard Depo. at 101:1-24.) He also testified that,

23

24                                                                                  . (Id. at 70:2-21, 73:11-

25   25, 74:1-3, 85:17-25, 86:1-3, 112:1-15.) That is more than sufficient to support Col. Shepard’s

26   opinion that the United States and its allies use Pegasus. (Shepard Rpt. ¶¶ 26-30.)

27           For their part, Plaintiffs do not explain why they need classified information to further

28   probe the basis for Col. Shepard’s opinions or explain how those opinions “inextricably” rely on

                                                        5
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 1    classified information—as was the case in the non-binding bankruptcy court decision Plaintiffs

 2    cite. In re Leap Wireless Int’l., Inc., 301 B.R. 80, 85 (Bankr. S.D. Cal. 2003). Plaintiffs are able

 3    to cross-examine Col. Shepard without access to any of the classified information they cite, and

 4    they do not argue otherwise. They may also try to use Col. Shepard’s inability to disclose

 5    confidential information as a basis to undermine his opinions with the jury. So, even if Plaintiffs’

 6    complaints about classified information were “colorable”—and they are not—they are mere

 7    grounds for “impeachment” that do not “go to admissibility.” Alaska Rent-A-Car, 738 F.3d at 969.

 8             In any event, exclusion under Rule 702 would not be the proper remedy for any failure by

 9    Col. Shepard to disclose confidential information. Rule 26(a)(2)(B) requires that an expert report

10    contain “a complete statement of all opinions the witness will express and basis and reasons for

11    them.” Fed. R. Civ. P. 26(a)(2)(B). As Plaintiffs’ authority recognizes, “generally, the remedy

12    for a deficient expert report is a motion to compel in advance of trial” under Rule 26. In re Leap

13    Wireless Int’l., Inc., 301 B.R. at 83.2 And “[e]xclusion of expert report or testimony is appropriate

14    only when the failure to provide an adequate expert report is in violation of an order compelling

15    discovery.” Intercargo Ins. Co. v. Burlington N. Santa Fe R.R., 185 F. Supp. 2d 1103, 1107 (C.D.

16    Cal. 2001). Here, Plaintiffs did not move to compel Col. Shepard to provide confidential

17    information under Rule 26, and this Court did not order him to do so. Exclusion is therefore

18    inappropriate. See, e.g., Krause v. Hawaiian Airlines, Inc., 2019 WL 13225251, at *4 (E.D. Cal.

19    June 7, 2019) (denying motion to exclude expert despite Rule 26 violation when moving party

20    “move[d] to strike the disclosure in its entirety—rather than promptly seeking to compel

21    supplemental disclosures”).

22             The only case Plaintiffs cite, the “unusual case” of In re Leap, does not support a contrary

23    conclusion here. 301 B.R. at 83. In that case—a non-binding decision by a bankruptcy court—

24    the expert conducted a “comparable license sale analysis” that “inextricably relie[d]” on

25    undisclosed confidential information about 18% of the license transactions on which he based his

26    valuation. Id. at 84-85. And while the opposing party did not timely file a Rule 26 motion, the

27
      2
28     Defendants’ motion to compel with respect to Plaintiffs’ expert David Youssef reflects the proper
      procedure. (Dkt. 498.)
                                                        6
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 1    case’s peculiar schedule allowed “extremely limited” time for such motions and made “cur[ing]”

 2    the defect impractical. Id. at 83, 85 n.4. In those “particular circumstances,” the bankruptcy court

 3    found that the expert’s refusal to disclose the data underlying his calculations prevented the

 4    opposing party from cross-examining the expert and the court from assessing the reliability of his

 5    testimony. Id.

 6            The same is not true here, where Plaintiffs had ample time to file a motion to compel under

 7    Rule 26, and where Col. Shepard’s opinions do not “inextricably rel[y]” on classified information.

 8    Id. at 84. Particularly in light of their failure to move to compel following the deposition, Plaintiffs

 9    cannot plausibly contend that either their or this Court’s assessment of Col. Shepard’s opinions

10    requires access to undisclosed confidential information. See V3 World Mgmt., Inc. v. Synergy

11    Worldwide, Inc., 2019 WL 2325968, at *1-2 (D. Utah May 31, 2019) (denying motion to exclude

12    expert who “declined to disclose the details of his professional experience . . . due to the attorney-

13    client privilege” because he still “provided sufficient information to establish his qualifications

14    and the facts or data upon which his opinion is based,” about which moving party could “cross-

15    examine” him); Green Mountain Chrysler Plymouth Dodge Jeep v. Crombie, 508 F. Supp. 2d 295,

16    334-35 (D. Vt. 2007) (denying motion to exclude expert who did not disclose certain sources and

17    refused to reveal “confidential information,” when doing so was “ordinary practice” and expert

18    relied on undisclosed sources to “merely confirm[] his initial analysis”).

19            C.       Col. Shepard’s opinions are reliable.
                       1.     Col. Shepard has a reliable basis to opine that threat actors use
20
                              encrypted messaging.
21            Plaintiffs challenge Col. Shepard’s opinion that “terrorist organizations, narcotics groups,
22    human traffickers” and other threat actors use encrypted messaging applications to conceal their
23    activities (Shepard Rpt. ¶ 23), but they simply ignore the ample support Col. Shepard has provided
24    for that opinion. To begin, experts may rely on their own experiences, Holguin, 51 F.4th at 856,
25    and Col. Shepard testified that
26                 (e.g., Akro Decl. Exh. A, Shepard Depo. at 173:9-14; 175:2-7). Col. Shepard even
27                                                                              . (Id. at 175:17-22.) Such
28    “[e]xperience alone is a reliable basis” for Col. Shepard’s opinions. Holguin, 51 F.4th at 856; see
                                                         7
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 1    also Fed. R. Evid. 703 (allowing reliance on information an “expert has . . . personally observed”).

 2             Moreover, Col. Shepard has cited an overwhelming number of articles specifically

 3    addressing the use of encrypted applications by threat actors around the world. (See Shepard Rpt.

 4    App’x I; e.g., Ryan Pereira, Shining Light on the “Going Dark” Phenomenon: U.S. Efforts to

 5    Overcome the Use of End-to-End Encryption by Islamic State Supporters, HARVARD NAT’L

 6    SECURITY      J.   ONLINE     (Sep.    3,   2021),      available     at     https://harvardnsj.org/wp-

 7    content/uploads/sites/13/2021/09/Shining-Light-OnGoing-Dark.pdf.) For example, it is public

 8    knowledge that the perpetrators of the ISIS terror attacks in Paris in November 2015 “taught

 9    trainees about secure communications—encrypted applications such as Telegram, WhatsApp and

10    Truecrypt—and set up protocols to contact them when they were in place.” Sebastian Rotella,

11    ISIS via WhatsApp: ‘Blow Yourself Up, O Lion’ PBS FRONTLINE, available at

12    https://www.pbs.org/wgbh/frontline/article/isis-via-whatsapp-blow-yourself-up-o-lion/.3 The former

13    U.S. Attorney General has described end-to-end encryption services as posing “a grave threat to

14    public safety” and “an unacceptable risk to the country.” U.S. DOJ, Attorney General William P.

15    Barr Delivers Keynote Address at the International Conference on Cyber Security (July 23, 2019).4

16    These “facts and data,” particularly when combined with Col. Shepard’s extensive personal

17    experience, amply support Col. Shepard’s opinions. See, e.g., United States v. Nelson, 2021 WL

18    75757, at *11 (N.D. Cal. Jan. 8, 2021) (expert’s “use of such sources as ‘books’ and ‘newspaper

19
      3
        See also Robert Graham, How Terrorists Use Encryption, CTCSENTINEL, VOL. 9, ISSUE 6 at 23
20
      (2016),       available        at       https://ctc.westpoint.edu/wp-content/uploads/2016/06/CTC-
21    SENTINEL_Vol9Iss69.pdf (“The ubiquity of encryption in commercially available messaging
      tools and devices has made it increasingly easy for terrorists to communicate securely. And it has
22    become easier for terrorists to use the tools that already exist (Telegram, Whatsapp, Surespot, etc.)
      rather than build their own software.”).
23    4
          Available at https://www.justice.gov/opa/speech/attorney-general-william-p-barr-delivers-
24    keynote-address-international-conference-cyber. As one example, the Attorney General cited a
      Mexican cartel that “use[d] WhatsApp as their primary communication method, preventing U.S.
25    law enforcement from conducting wiretaps that would enable us to locate fentanyl shipments and
      seize them at the border. We also found that the cartel had used WhatsApp for the specific purpose
26    of coordinating the murders of Mexico-based police officials. The cartel ended up murdering
      hundreds of these police officers. Had we been able to gain lawful access to the chat on a timely
27    basis, we could have saved these lives. So the costs of not being able to gain lawful access in this
28    case were the lives of the assassinated officers, as well as the many lives impacted here by
      unimpeded entry into the United States of huge amounts of deadly fentanyl.” Id.
                                                       8
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 1    articles’ as part of his broader intelligence-gathering practice satisfies the methodological-

 2    reliability requirement of Rule 702”).

 3           Plaintiffs attempt to distract from this ample support by seizing on Col. Shepard’s

 4    statement during his deposition that, in his personal experience,                      of threat actors

 5    use encrypted messaging applications. (Mot. at 8.) This is a red herring. Col. Shepard was clearly

 6    speaking colloquially, and if he testifies to it at trial, Plaintiffs can cross-examine him about it.

 7    (See Akro Decl. Exh. A, Shepard Depo. at 173:9-17.) For this reason, Plaintiffs’ focus on Col.

 8    Shepard’s supposed failure to identify any studies supporting                             is beside the

 9    point. So is Plaintiffs’ citation to United States v. Valencia-Lopez, 971 F.3d 891 (9th Cir. 2020).

10    In that case, a prosecution for drug transportation and importation, the government’s expert

11    testified for the first time at trial that “the likelihood drug trafficking organizations would entrust

12    a large quantity of illegal drugs to the driver of a commercial vehicle who was forced or threatened

13    to comply was ‘[a]lmost nil, almost none.’” Id. at 895. The Ninth Circuit found the trial court

14    erred by failing to make any reliability determination as to how the agent’s experience supported

15    this testimony, in part because the expert offered his opinion for the first time on the witness stand.

16    Id. at 898-99.

17           Here, by contrast, the opinion Col. Shepard disclosed in his report and will offer at trial is

18    the well-established fact that threat actors use encrypted messaging applications to conceal their

19    activities (Shepard Rpt. ¶ 23)—not that any particular percentage of threat actors do so. And his

20    actual opinion is well-supported by his personal experiences and by reams of reliable public

21    reports. Plaintiffs may try to impeach that testimony at trial, but Rule 702 permits Col. Shepard

22    to “generally testif[y] based on [his] experience” without offering the sort of “systemic

23    methodology” that Plaintiffs seem to demand. Holguin, 51 F.4th at 856.

24                     2.    Col. Shepard has a reliable basis to opine that the United States and
                             its allies use surveillance tools like Pegasus.
25
             In challenging the reliability of Col. Shepard’s opinion concerning the use of surveillance
26
      tools like Pegasus by the United States and its allies, Plaintiffs distort Col. Shepard’s testimony.
27
      He did not, as Plaintiffs say,
28
                                                         9
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 1                 (Mot. at 9.) Rather, Col. Shepard testified that

 2

 3

 4                                                   . (See Akro Decl. Exh. A, Shepard Depo. 83:5-85:2;

 5    245:2-9.)     He explained, for example,

 6

 7                                                                                                       . (Id.

 8    at 84:7-14.) In other words, all Col. Shepard disclaimed was

 9                                                           . That unremarkable disclaimer is not remotely

10    inconsistent with Col. Shepard’s actual opinion—that “U.S. military intelligence agencies, as well

11    as those of U.S. allies, routinely use surveillance tools similar to Pegasus to combat a variety of

12    threat actors.” (Shepard Rpt. ¶ 26.)

13             And to be clear, Col. Shepard provided ample support for that opinion. He repeatedly

14    testified to his experience with cybersurveillance, both domestically and abroad (e.g., Akro Decl.

15    Exh. A, Shepard Depo. at 59:25- 60:16, 217:13-218:1, 243:13-245-9); described

16

17                                           (Id. at 70:2-21, 73:11-25, 74:1-4, 84:1-86:1, 102:16-22); and

18    identified numerous public reports supporting his testimony, including one confirming that the FBI

19    licensed Pegasus (Shepard Rpt. App’x I; see, e.g., FBI Confirms It Obtained NSO’s Pegasus

20    Spyware, THE GUARDIAN (Feb. 2, 2022)5). That support bears no resemblance to the non-

21    precedential case on which Plaintiffs rely, in which the Ninth Circuit affirmed the exclusion of an

22    expert because the only support for the expert’s opinion was an excluded report, leaving the jury

23    no way to assess the opinion. ThermoLife Int’l v. Gaspari Nutrition Inc., 648 F. App’x 609, 614

24    (9th Cir. 2016). Here, by contrast, the record is replete with evidence demonstrating Col.

25    Shepard’s qualifications and supporting his opinions.

26             Plaintiffs also distort Col. Shepard’s testimony

27

28    5
          https://www.theguardian.com/news/2022/feb/02/fbi-confirms-it-obtained-nsos-pegasus-spyware
                                                        10
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 1            Although he was not able to

 2

 3                                                      (see Akro Decl. Exh. A, Shepard Depo. at 81:12-

 4    82:24), he provided more than enough information to support his opinion. He testified that

 5

 6                           (see Dkt. 504-4 at 69:23-70:4);

 7                                                                                           (Akro Decl. Exh.

 8    A, Shepard Depo. at 73:18-74:2); he

 9                                                                       (see id. at 84:15-85:1);

10

11                                                                          (id. 85:3-85:22);

12                                                           (id.);

13

14            (Dkt. 504-4 at 91:25-92:16.) Public reporting reflects much of the same. (Shepard Rpt.

15    App’x I; supra at 5.) Here too, Col. Shepard’s inability to

16              or to

17    is not a basis for exclusion—it is, at best, grounds for cross-examination at trial.

18           Nor is there any merit to Plaintiffs’ rote complaints about NSO not providing a list of its

19    customers in discovery or to Col. Shepard. (Mot. 11.) Plaintiffs cannot explain why Col. Shepard

20    would need a complete list of NSO’s customers

21                                                                            Whether NSO

22                                                                          has no bearing on his opinions.

23    Anyway, this Court already held that NSO was not required to disclose the identities of its

24    customers (Dkt. 292 at 5), so any lack of disclosure cannot support exclusion.

25                      3.   Col. Shepard has a reliable basis to opine on the marketplace for
                             cybersurveillance tools and WhatsApp’s work with law enforcement.
26
             In total disregard of Col. Shepard’s significant experience as an intelligence operative,
27
      Plaintiff mistakenly argues that his opinion on the marketplace for commercial surveillance tools
28
                                                        11
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 1    and WhatsApp’s work with law enforcement is unreliable.

 2           First, Col. Shepard has a reliable basis to testify about the marketplace for

 3    cybersurveillance tools. His experience with intelligence operations and cybersurveillance provide

 4    him with an extensive background in commercial surveillance tools, how they are sold and

 5    purchased, and how they are used in intelligence and counterterrorism operations—all of which

 6    provides a more than sufficient basis for Col. Shepard to opine on such tools’ value for

 7    governments. (E.g., Shepard Rpt. ¶¶ 8-14; see also Akro Decl. Exh. A, Shepard Depo. at 217:13-

 8    218:17, 247:9-24, 308:17-20.) Furthermore, Col. Shepard clearly testified

 9

10                                                                                             (Dkt. 504-4

11    at 246:7-248:18.) And,

12

13                                                                                             . (See Akro

14    Decl. Exh. A, Shepard Depo. at 254:22-259:13, 308:17-20.)

15           Plaintiffs’ cited authority is readily distinguishable because it involved a clear disconnect

16    between the expert’s experience selling life insurance policies and his opinions on the putative

17    class members’ reasons for purchasing certain policies—opinions that would have required

18    surveys or a background in consumer behavior. In re PFA Ins. Mktg. Litig., 696 F. Supp. 3d 788,

19    800 (N.D. Cal. 2021). There is no such disconnect between Col. Shepard’s experience in testing,

20    developing, using, and purchasing cybersurveillance tools and his opinions about the value of those

21    tools. And, in any event, “lack of particularized expertise goes to the weight accorded [his]

22    testimony, not to the admissibility of [his] opinion as an expert.” United States v. Garcia, 7 F.3d

23    885, 890 (9th Cir. 1993) (holding that an expert’s admitted lack of “particularized expertise on the

24    subject of child testimony through closed circuit television” did not preclude her from testifying

25    because of her considerable experience treating abused children); see also D.F. ex rel. Amador v.

26    Sikorsky Aircraft Corp., 2017 WL 4922814, at *14 (S.D. Cal. Oct. 30, 2017) (“So long as the

27    expert’s testimony remains within the reasonable confines of his subject area,’ it is admissible.”

28    (citing Avila v. Willits Envt’l Remediation Tr., 633 F.3d 828, 839 (9th Cir. 2011))). Plaintiffs’
                                                      12
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 1    criticisms of that testimony are, yet again, grounds for cross-examination, not exclusion.

 2             Second, Col. Shepard’s experience supports his opinions that “many encrypted messaging

 3    application providers such as WhatsApp do not help the government obtain access to encrypted

 4    communications.” (See Mot. at 12 (citing Shepard Rpt. ¶ 34).) Based on his personal experience

 5    at the southern border, Col. Shepard testified that he knows firsthand that

 6                                                                                    . (Akro Decl. Exh.

 7    A, Shepard Depo. at 188:6-15). Plaintiffs offer no reason why Col. Shepard would need to have

 8    personally requested such information to understand whether or not such requests typically yield

 9    responses. And again, Plaintiffs ignore Col. Shepard’s citation to multiple public sources that

10    bolster his opinions regarding encrypted messaging application providers’ reluctance to provide

11    law enforcement with encrypted communications—even those used by terrorist groups. (Shepard

12    Rpt. App’x I; see, e.g., Keith Wagstaff, Paris Attack Could Renew Debate Over Encrypted

13    Messaging Apps, NBC NEWS (Nov. 16, 2015)6).

14                    4.     Col. Shepard has a reliable basis to testify about government
                             compliance with terms of service.
15
               Plaintiffs’ argument that Col. Shepard lacks a basis to opine on government actors’
16
      compliance with terms of service (Mot. at 13) is disingenuous at best. Plaintiffs are aware that
17
      WhatsApp users, government actors or not, are often out of literal compliance with WhatsApp’s
18
      terms of service. Plaintiffs’ own corporate designee, a security engineer at Meta, testified that
19

20
                                             . (E.g., Dkt. 419-5, Exh. B at 111:15-114:6.) This is entirely
21
      consistent with Col. Shepard’s opinion. (See Shepard Rpt. ¶ 37 (“[U]sers routinely register using
22
      pseudonyms and avoid disclosing their true identities or locations even when required by the terms
23
      of service, and providers typically do not enforce such policies.”))
24
               Setting aside Plaintiffs’ own admissions, Col. Shepard nevertheless has a reliable basis to
25
      opine on government compliance with cybersurveillance companies’ terms of service. Col.
26

27
      6
28          https://www.nbcnews.com/storyline/paris-terror-attacks/paris-attack-could-renew-debate-over-
      encrypted-messaging-apps-n464276
                                                       13
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 1    Shepard has decades of experience leading and training governments’ counterterrorism and crime-

 2    prevention cybersecurity efforts. (Shepard Rpt. ¶¶ 3–18; see also, e.g., Akro Decl. Exh. A,

 3    Shepard Depo. at 15:14-18, 22:9-23:14, 26:1-25, 27:1-14.) Based on his extensive military and

 4    intelligence experience, he testified that it is “commonplace” for government organizations that

 5    require discretion (such as intelligence organizations) to take steps to avoid giving away

 6    identifying information. (Dkt. No. 504-4 at 382:8-390:11.) This includes

 7

 8

 9                             . (See id.)

10           Col. Shepard has also seen firsthand that “companies that provide messaging applications

11    often design their systems to prevent anyone, including government agencies, from decrypting

12    communications stored or sent using the applications.” (Shepard Rpt. ¶ 23.) In order to “overcome

13    such encryption and conduct lawful surveillance,” Col. Shepard reliably opines, “government

14    agencies need to develop or purchase licenses to use special surveillance tools.” (Id.) The Court

15    should reject Plaintiffs’ argument that a U.S. Army Colonel with decades of experience training

16    governments in cyber-security and counter-terrorism missions would somehow lack a basis to

17    opine on whether such governments are in strict compliance with technology companies’ terms of

18    service.

19                   5.      Col. Shepard has a reliable basis to opine that many cybersurveillance
                             technologies do not offer the safeguards that Pegasus offers.
20
             Finally, Col. Shepard has a reliable basis to opine that many cybersurveillance tools do not
21
      have the same safeguards as NSO. Contrary to Plaintiffs’ claim that Col. Shepard could not
22
      identify any cybersurveillance tool comparable to those he references in Paragraph 44 of his report
23
      (Mot. at 14), Col. Shepard testified that he could recall “five or six” such tools, while merely noting
24
      that                                                                                 (Akro Decl. Exh.
25
      A, Shepard Depo. 402:8-403:2).
26
             Nor is Col. Shepard required to conduct an “empirical analysis on the due diligence of
27
      other cyber surveillance companies” (Mot. at 14) in order to offer an opinion that many
28
                                                        14
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 1    cybersurveillance tools do not have the same safeguards as Pegasus. As already explained, an

 2    expert who (like Col. Shepard) testifies based on specialized expertise gained from firsthand

 3    experience with a wide array of cybersurveillance tools does not also need to conduct an empirical

 4    analysis. Holguin, 51 F.4th at 856. Rule 702 “works well for this type of data gathered from years

 5    of experience and special knowledge.” Hankey, 203 F.3d at 1169.

 6           Moreover, Plaintiffs ignore Col. Shepard’s testimony that

 7                                                                   (Akro Decl. Exh. A, Shepard Depo.

 8    at 401:11-23, 403:22-407:14.) As such,

 9

10                                                                              (Id. at 411:16-22.) Col.

11    Shepard’s supposed failure to “understand the due diligence” such companies perform (Mot. 14)

12    is beside the point—Col. Shepard’s testimony is that

13             , and Plaintiffs cannot fault Col. Shepard for not reviewing policies and procedures that

14    do not exist.

15                    6.     Col. Shepard’s opinions are relevant and helpful to the trier of fact.

16           Unable persuasively to challenge the reliability of Col. Shepard’s opinions, Plaintiffs

17    attempt to challenge their relevance. Contrary to Plaintiffs’ arguments, however, Col. Shepard’s

18    opinions are directly relevant to whether Plaintiffs are entitled to recover much of the relief they

19    seek: punitive damages and a permanent injunction.

20                           a)     Col. Shepard’s opinions are relevant to punitive damages.

21           Col. Shepard’s testimony bears on Plaintiffs’ claim for punitive damages. Without that

22    testimony, the jury cannot properly determine whether NSO’s conduct in licensing Pegasus is so

23    reprehensible that it warrants punitive damages above and beyond any compensatory relief.

24    Contrary to Plaintiffs’ apparent assumption, the jury should not put on blinders and assess punitive

25    damages based solely on evidence of Pegasus’ alleged harms, without any evidence of its benefits.

26           To be entitled to punitive damages, Plaintiffs will need to “prove[] by clear and convincing

27    evidence that [NSO] has been guilty of oppression, fraud, or malice.” Cal. Penal Code § 502(e)(4).

28    “Malice” requires either an intent “to cause injury” or “despicable conduct . . . with a willful and

                                                      15
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 1    conscious disregard of that person’s rights.” Cal. Civ. Code § 3294(c)(1). “Oppression” similarly

 2    requires “despicable conduct that subjects a person to cruel and unjust hardship in conscious

 3    disregard of that person’s rights.” Id. § 3294(c)(2). “Fraud” requires an intent to “depriv[e] a

 4    person of property or legal rights or otherwise caus[e] injury.” Id. § 3294(c)(3). The amount of

 5    punitive damages available also would depend on how “egregious” NSO’s behavior was. See

 6    Riley v. Volkswagen Grp. of Am., Inc., 51 F.4th 896, 902 (9th Cir. 2022). In other words, the jury

 7    will need to make a number of factual determinations regarding whether NSO intended to harm

 8    others, disregarded their safety, or engaged in objectively reprehensible conduct.

 9           Col. Shepard’s opinions on how NSO’s surveillance technology helps governments

10    prevent and investigate terrorist attacks, assassinations, drug trafficking, and other threats are

11    highly relevant to these determinations. These opinions, for example, provide context that will

12    help the jury understand how the “U.S. and allied national security agencies” are able to use

13    “[t]ools like Pegasus” to gain “intelligence” insight that allows them to “successfully disrupt

14    attempts to injure or kill people, damage or destroy critical infrastructure, and otherwise threaten

15    public safety and security.” (Shepard Rpt. ¶ 28.) Although Col. Shepard does not directly opine

16    on NSO’s intent, his opinions are indirect evidence on that issue—i.e., whether NSO’s intent was

17    to harm Plaintiffs or to fill existing gaps in law-enforcement needs by developing a technology

18    that Col. Shepard has personally seen used in beneficial ways. See Hardeman v. Monsanto Co.,

19    997 F.3d 941, 971 (9th Cir. 2021) (the requisite intent “can be ‘proved either expressly through

20    direct evidence or by implication through indirect evidence’”) (quoting Pfeifer v. John Crane, Inc.,

21    220 Cal. App. 4th 1270, 1299 (2013)).

22           Col. Shepard’s opinions likewise will help the jury determine whether NSO’s conduct was

23    “despicable.” This objective standard requires “conduct ‘so vile, base, contemptible, miserable,

24    wretched or loathsome that it would be looked down upon and despised by most ordinary decent

25    people.’” Hardeman, 997 F.3d at 971 (quoting Pac. Gas & Elec. Co. v. Super. Ct., 24 Cal. App.

26    5th 1150, 1158 (2018)); see also CACI 3945 (Punitive Damages—Entity Defendant—Trial Not

27    Bifurcated) (similar). The jury cannot properly make this determination by considering only one

28    side of the equation—i.e., the supposed harms of NSO’s technology. Rather, the jury also must
                                                      16
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 1    consider whether the challenged technology has beneficial properties such that most ordinary

 2    decent people would not find NSO’s conduct despicable. Col. Shepard’s opinions will directly

 3    help the jury understand those benefits. Indeed, Plaintiffs themselves intend to argue on this issue

 4    that NSO peddles “spyware” and “Malware Vectors” that “posed a substantial risk of harm to

 5    thousands of WhatsApp users.” (Pls.’ Trial Br. (Dkt. 595) at 2, 10–12.) Col. Shepard’s opinions

 6    that, in fact, NSO offers essential lawful-intercept technologies that allow law enforcement to track

 7    suspected criminals and terrorists are necessary to rebut Plaintiffs’ arguments.

 8           Similarly, in deciding whether to award punitive damages, the jury must assess the nature

 9    of NSO’s conduct, whether it falls so far outside the norm as to require additional punishment, and

10    whether NSO took steps to mitigate any actual, known risks. See Hardeman, 997 F.3d at 971.

11    Col. Shepard’s testimony as to the lawful, beneficial use of cybersurveillance tools bears directly

12    on those issues. So does Col. Shepard’s testimony that NSO, unlike some of its peer organizations,

13    uses a number of guardrails to protect against potential misuse of Pegasus. (Shepard Rpt. ¶¶ 38,

14    43.) NSO, for instance, prohibits sale of its products to countries and customers “not trusted to

15    use them appropriately.” (Id. ¶ 39; see also id. ¶ 44 (“I am unaware of a strategic available

16    commercial off-the-shelf (COTS) surveillance tool used internationally that has more safeguards

17    than Pegasus.”).) NSO is entitled to present that testimony to defend against Plaintiffs’ claim that

18    it acted despicably and ignored known risks.

19           Courts commonly admit similar expert testimony about whether a challenged product or

20    technology is, in fact, harmful or beneficial when assessing punitive-damages claims. See, e.g.,

21    Riley, 51 F.4th at 901 n.4 (noting “‘expert testimony that increased NOx emissions increase the

22    risk of harm to human health’” was “‘evidence of the egregiousness of Volkswagen’s

23    misconduct’”); Hadley v. Kellogg Sales Co., 2019 WL 3804661, at *16 (N.D. Cal. Aug. 13, 2019)

24    (Koh, J.) (considering expert testimony on whether “cereal consumption increases the risk of

25    coronary heart disease, diabetes, or obesity” on punitive-damages claim against cereal

26    manufacturer); Buell-Wilson v. Ford Motor Co., 73 Cal. Rptr. 3d 277, 312 (Cal. Ct. App. 2008) (jury

27    properly weighed competing “expert testimony” on whether product had “design and safety issues”

28    on punitive-damages claim). These cases all confirm that Col. Shepard’s opinions are relevant.
                                                       17
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 1                           b)        Col. Shepard’s opinions are relevant to injunctive relief.

 2           For similar reasons, Col. Shepard’s testimony is relevant to whether Plaintiffs are entitled

 3    to an injunction that would effectively prohibit NSO from licensing Pegasus to governments and

 4    force those governments to abandon ongoing investigations of terrorists and criminals. To obtain

 5    such relief, Plaintiffs will need to show, among other things, “that the public interest would not be

 6    disserved by a permanent injunction.” W. Watersheds Project v. Abbey, 719 F.3d 1035, 1054 (9th

 7    Cir. 2013). Col. Shepard’s opinions speak directly to this issue, as they show how an injunction

 8    could deprive governments of a valuable tool for investigating, preventing, and prosecuting crimes

 9    such as “human trafficking, drug smuggling, and terrorist infiltration,” as well as “foreign

10    government efforts to carry out assassinations.” (Shepard Rpt. ¶ 30.) Plaintiffs may dispute

11    whether banning Pegasus would harm the public interest, but the parties’ dispute on this point only

12    confirms that Col. Shepard’s testimony is relevant and would help the factfinder. Plaintiffs’

13    disagreement with that testimony is a basis for cross-examination, not exclusion.

14           Plaintiffs say Col. Shepard “offers no specific opinion that bears on whether NSO’s

15    continued access to WhatsApp’s servers will have an impact on the public interest” (Mot. 18), but

16    Plaintiffs’ requested injunction goes far beyond prohibiting access to WhatsApp’s servers. (See

17    Dkts. 557-3, 558-3, 604-2.) Among other broad provisions, Plaintiffs’ requested injunction would

18    prohibit NSO’s customers from collecting messages that Plaintiffs’ criminal users send or receive

19    on any and all of Plaintiffs’ platforms (WhatsApp, Facebook Messenger, etc.), regardless of

20    whether the collection is performed using a version of Pegasus that has anything to do with

21    WhatsApp servers. Such a prohibition would effectively eliminate Pegasus. (See Dkt. 604-2 at 16-

22    20.) Plaintiffs’ requested injunction would even require NSO’s customers to destroy any evidence

23    they collected in investigations using Pegasus, again regardless of whether that evidence was

24    collected using a version of Pegasus that has any contact with WhatsApp servers. (Id. at 19-20.)

25    Col. Shepard’s opinions bear directly on whether those and other injunction terms would serve or

26    undermine the public interest.

27           Although entitlement to injunctive relief is a question for the Court, that does not make

28    Col. Shepard’s testimony irrelevant for the jury. It remains relevant to punitive damages. See
                                                        18
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 1    Illuminia, Inc. v. BGI Genomics Co., Ltd., 2021 WL 4979799, at *9 (N.D. Cal. Oct. 27, 2021)

 2    (admitting evidence “related to [a] request for permanent injunction” because it was also “related

 3    to damages”). In addition, this Court has instructed the parties to consider how the evidence related

 4    to Plaintiffs’ request for an injunction should be introduced and assessed, for example through “an

 5    evidentiary hearing or special interrogatories to the jury.” (Dkt. 577 at 2.) If the jury is provided

 6    special interrogatories, then it plainly needs to hear evidence related to Plaintiffs’ request for

 7    injunctive relief. Even if this Court resolves factual disputes related to injunctive relief, allowing

 8    evidence related to that relief at trial could avoid the need for a second evidentiary hearing

 9    following trial.

10    IV.     CONCLUSION

11            Col. Shepard will provide testimony that is relevant and helpful to the jury and Court, based

12    on his extensive qualifications and experience in the precise issues involved in this case. The Court

13    should reject Plaintiffs’ attempt to deprive the jury, the Court, and NSO of Col. Shepard’s opinions.

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15    DATED: March 20, 2025                              KING & SPALDING LLP

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                                                              CYBER TECHNOLOGIES LIMITED
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       DEFENDANTS’ OPPOSITION TO                                                 Case No. 4:19-cv-07123-PJH
       SHEPARD DAUBERT MOTION
